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      Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9
       ROTHSCHILD BROADCAST           §            Case No. 2:22-cv-03659
 10    DISTRIBUTION SYSTEMS, LLC §
                                      §
 11
           Plaintiff,                 §            COMPLAINT PATENT CASE
 12                                   §
      vs.                             §            DEMAND FOR JURY TRIAL
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                                      §
 14   SWANN COMMUNICATIONS            §
      USA, INC.,                      §
 15
                                      §
 16        Defendant.                 §
      ________________________________§
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 18
            Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” and/or
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      “RBDS”) files this complaint against Swann Communications USA, Inc. (“Defendant”
 20
      and/or “Swann Communications”) for infringement of U.S. Patent No. 8,856,221
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      (hereinafter the “221 Patent”) and alleges as follows:
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                                            PARTIES
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            1.     Plaintiff is a Texas limited liability company with an office at 1 East
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      Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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            2.     On information and belief, Defendant is California corporation, with a
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      place of business at 12636 Clark Street, Santa Fe Springs, CA 90670 USA. On
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      information and belief, Defendant may be served through its agent, Antoine Dao, at the
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  1   same address.
  2                                  JURISDICTION AND VENUE
  3         3.       This action arises under the patent laws of the United States, 35 U.S.C. §
  4   271 et seq. Plaintiff is seeking damages, as well as attorney fees and costs.
  5         4.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
  6   Question) and 1338(a) (Patents).
  7         5.       On information and belief, this Court has personal jurisdiction over
  8   Defendant because Defendant has committed, and continues to commit, acts of
  9   infringement in this District, has conducted business in this District, and/or has engaged
 10   in continuous and systematic activities in this District.
 11         6.       Upon information and belief, Defendant’s instrumentalities that are
 12   alleged herein to infringe were and continue to be used, imported, offered for sale,
 13   and/or sold in the District.
 14         7.       Venue is proper in this District under 28 U.S.C. §1400(b) because
 15   Defendant is deemed to be a resident in this District. Alternatively, acts of infringement
 16   are occurring in this District, and Defendant has a regular and established place of
 17   business in this District.
 18                                       BACKGROUND
 19         8.       On October 7, 2014, the United States Patent and Trademark Office
 20   (“USPTO”) duly and legally issued the `221 Patent, entitled “System and Method for
 21   Storing Broadcast Content in a Cloud-Based Computing Environment” after the
 22   USPTO completed a full and fair examination. The ‘221 Patent is attached as Exhibit
 23   A.
 24         9.       Rothschild Broadcast Distribution Systems is currently the owner of the
 25   `221 Patent.
 26         10.      Rothschild Broadcast Distribution Systems possesses all rights of
 27   recovery under the `221 Patent, including the exclusive right to recover for past, present
 28   and future infringement.
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  1         11.    The `221 Patent contains thirteen claims including two independent claims
  2   (claims 1 and 7) and eleven dependent claims.
  3                                        COUNT ONE
  4                   (Infringement of United States Patent No. 8,856,221)
  5         12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the
  6   same as if set forth herein.
  7         13.    This cause of action arises under the patent laws of the United States and,
  8   in particular under 35 U.S.C. §§ 271, et seq.
  9         14.    Defendant has knowledge of its infringement of the `221 Patent, at least
 10   as of the service of the present complaint.
 11         15.    The ‘221 Patent teaches a method and apparatus for media content storage
 12   and delivery. ‘221 Patent, Abstract. Among other things, the claimed system includes
 13   a server, which has a receiver in communication with a processor. Id. The receiver
 14   receives a request message. Id. The request message includes media data indicating
 15   requested media content and a consumer device identifier corresponding to a consumer
 16   device. Id. The processor determines whether the consumer device identifier
 17   corresponds to a registered consumer device. Id. If the processor determines that the
 18   consumer device identifier corresponds to the registered consumer device, then the
 19   processor determines whether the request message is one of a storage request message
 20   and a content request message. Id. If the request message is the storage request message,
 21   then the processor is further configured to determine whether the requested media
 22   content is available for storage. Id. If the request message is the content request
 23   message, then the processor initiates delivery of the requested media content to the
 24   consumer device. Id.
 25         16.    The present invention solves problems that existed with then-existing
 26   media delivery systems. One problem with prior delivery systems is that the customer
 27   was charged according to the expenses of the provider rather than the usage of the
 28   customer. ‘221 Patent, 1:31-57. Customers were not charged based on the amount of
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  1   programming delivered or the amount or duration of the customer’s storage of media.
  2   Id. Another such problem, more generally, is that customers were not billed and
  3   services were not provided, in a way that was tailored to the customer’s needs and
  4   usage. Id., 2:3-13.
  5         17.    A number of aspects of the invention(s) embodied in the ‘221 Patent
  6   overcome the problems with the prior art. For example, the inventive system includes
  7   a processor in communication with a receiver. Id., 2:23-34. The processor determines
  8   media content characteristics that correspond to the media content to be stored. Id. The
  9   processor determines a length of time to store the media content based on the media
 10   data and determines a cost amount based at least in part on the determined media
 11   content characteristics and length of time to store the media content. Id. As another
 12   example, the system makes a determination that media content is available for
 13   download. Id., 2:64-3:2. A determination is made that content is not stored. Download
 14   of the media content is initiated. Id. The media content is received and the received
 15   media content is stored. Id.
 16         18.    The ‘221 Patent is directed to computerized technologies to provide users
 17   with tailored media delivery systems and tailored billing for such systems. Among other
 18   things, the ‘221 Patent claims include sending and receiving of request messages
 19   indicating requested media content and including a device identifier corresponding to
 20   a consumer device. A determination is made whether the identifier corresponds to the
 21   device. A determination is also made as to whether the request is for delivery or
 22   storage. The media data in the request includes time data that indicates a length of time
 23   for storage. A processor is configured to determine whether requested media exists and
 24   whether there are any restrictions associated with delivery or storage of the requested
 25   media.
 26         19.    The system(s) and methods of the ‘221 Patent include software and
 27   hardware that do not operate in a conventional manner. For example, the software is
 28   tailored to provide functionality to perform recited steps and the processor is configured
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  1   (and/or programmed) to provide functionality recited throughout the claims of the ‘221
  2   Patent.
  3         20.    The ‘221 Patent solves problems with the art that are rooted in computer
  4   technology and that are associated with electronic transmission, loading, and storage of
  5   location information, as well as automatic provisioning of route guidance. The ‘221
  6   Patent claims do not merely recite the performance of some business practice known
  7   from the pre-Internet world along with the requirement to perform it on the Internet.
  8         21.    The improvements of the ‘221 Patent and the features recited in the claims
  9   in the ‘221 Patent provide improvements to conventional hardware and software
 10   systems and methods. The improvements render the claimed invention of the ‘221
 11   Patent non-generic in view of conventional components.
 12         22.    The improvements of the ‘221 Patent and the features recitations in the
 13   claims of the ’221 Patent are not those that would be well-understood, routine, or
 14   conventional to one of ordinary skill in the art at the time of the invention.
 15         23.    Accordingly, Defendant has infringed and continues to infringe, the `221
 16   Patent in violation of 35 U.S.C. § 271. Upon information and belief, Defendant has
 17   infringed and continues to infringe one or more claims, including at least Claim 7, of
 18   the ‘221 Patent by making, using, importing, selling, and/or offering for media content
 19   storage and delivery systems and services covered by one or more claims of the ‘221
 20   Patent.
 21         24.    Defendant sells, offers to sell, and/or uses media content storage and
 22   delivery systems and services, including, without limitation, the Swann cloud-based IP
 23   security camera (e.g., cloud storage, recorded videos etc.), any associated hardware,
 24   software, and apps, as well as any similar products (“Product”), which infringe at least
 25   Claim 7 of the ‘221 Patent.
 26         25.    The Product practices a method of storing (e.g., cloud storage) media
 27   content (e.g., conference recording) and delivering requested media content (streaming
 28   video, recorded videos, etc.) to a consumer device (e.g., mobile device with app or
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  1   software). Certain aspects of these elements are illustrated in the screenshots below
  2   and/or in those provided in connection with other allegations herein.
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  1         26.    The Product necessarily includes a receiver configured to receive a request
  2   message including data indicating requested media content (e.g., the Product must have
  3   the infrastructure to receive a request to store recorded media content or to stream
  4   recorded media content on a smartphone; additionally, the request message must
  5   contain data that identifies the content to be stored or streamed) and a consumer device
  6   identifier corresponding to a consumer device (e.g., the user credentials are used to
  7   access the contents of the Product). Certain aspects of these elements are illustrated in
  8   the screenshots below and/or in those provided in connection with other allegations
  9   herein.
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   1         27.    The Product necessarily determines whether the consumer device
   2   identifier corresponds to the registered consumer device (e.g., a user must be a
   3   registered user to access the Product’s services). Certain aspects of these elements are
   4   illustrated in the screenshots below and/or in those provided in connection with other
   5   allegations herein.
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  21         28.    The Product provides for both media downloads and/or storage, and media
  22   streaming. After a successful login, the Product necessarily determines whether the
  23   request received from a customer is a request for storage (e.g., recording or storing
  24   content) or content (e.g., streaming of media content). Certain aspects of these elements
  25   are illustrated in the screenshots below and/or in those provided in connection with
  26   other allegations herein.
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   1         29.    The Product verifies that media content identified in the media data of the
   2   storage request message (e.g., request to record content) is available for storage in order
   3   to prevent data errors that would result from attempting to store content that is not
   4   available for storage. The Product must verify that the media content (e.g. specific
   5   recording) identified in the media data of the storage request message is available for
   6   storage in order to prevent data errors that would result from attempting to store content
   7   that is not available for storage (e.g., the product must verify a user’s ability to store
   8   media content is limited to a certain amount of memory and/or time). Certain aspects
   9   of these elements are illustrated in the screenshots below and/or in those provided in
  10   connection with other allegations herein.
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   1         30.   If a customer requests content (e.g., live streaming of media content), then
   2   a processor within the Product necessarily initiates delivery of the content to the
   3   customer’s device. The Product will initiate delivery of the requested media content to
   4   the consumer device (e.g., stream media content feed to a smartphone or tablet, etc.) if
   5   the request message is a content request message (e.g., request for live streaming).
   6   Certain aspects of these elements are illustrated in the screenshots below and/or in
   7   screenshots provided in connection with other allegations herein.
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  19         31.    The media data includes date and time information to identify conference
  20   start and stop times, as well as meeting length. Time data may also indicate a length of
  21   time to store the requested media content (e.g. a user is allowed to store media content
  22   for a retention period configured by the user per their subscription level). Certain
  23   aspects of these elements are illustrated in the screenshots below and/or in those
  24   provided in connection with other allegations herein.
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   1         32.     The Product must first determine whether the requested media content
   2   exists prior to initiating delivery in order to prevent data errors that would result from
   3   attempting to transmit media content that does not exist (e.g., the product must verify
   4   that a particular requested data is stored in the cloud). Also, a user can view the history
   5   of media content and the processor can identify the existence of that particular media
   6   content. Certain aspects of these elements are illustrated in the screenshots below
   7   and/or in those provided in connection with other allegations herein.
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             33.    After the processor determines whether the requested media content is
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       available, it determines whether there are restrictions associated with the requested
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       media content (e.g., user access restrictions, etc.). Certain aspects of these elements are
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       illustrated in the screenshots below and/or those provided in connection with other
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       allegations herein.
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   1            34.   Defendant’s actions complained of herein will continue unless Defendant
   2   is enjoined by this Court.
   3            35. Defendant’s actions complained of herein are causing irreparable harm and
   4   monetary damage to Plaintiff and will continue to do so unless and until Defendant is
   5   enjoined and restrained by this Court.
   6            36.      The `221 Patent is valid, enforceable, and was duly issued in full
   7   compliance with Title 35 of the United States Code.
   8            37.       A copy of the ‘221 Patent, titled “System and Method for Storing
   9   Broadcast Content in a Cloud-based Computing Environment,” is attached hereto as
  10   Exhibit A.
  11            38.      By engaging in the conduct described herein, Defendant has injured
  12   Plaintiff and is liable for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
  13            39. Defendant has committed these acts of literal infringement, or infringement
  14   under the doctrine of equivalents of the `221 Patent, without license or authorization.
  15            40. As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff
  16   has suffered monetary damages and is entitled to a monetary judgment in an amount
  17   adequate to compensate for Defendant’s past infringement, together with interests and
  18   costs.
  19            41.   Plaintiff is in compliance with 35 U.S.C. § 287.
  20            42.    As such, Plaintiff is entitled to compensation for any continuing and/or
  21   future infringement of the `221 Patent up until the date that Defendant ceases its
  22   infringing activities.
  23                                DEMAND FOR JURY TRIAL
  24            43.   Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal
  25   Rules of Civil Procedure, requests a trial by jury of any issues so triable by right.
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   1                                 PRAYER FOR RELIEF
   2         WHEREFORE, Plaintiff asks the Court to:
   3         (a)   Enter judgment for Plaintiff on this Complaint on all cases of action
   4   asserted herein;
   5         (b)     Enter an Order enjoining Defendant, its agents, officers, servants,
   6   employees, attorneys, and all persons in active concert or participation with Defendant
   7   who receives notice of the order from further infringement of United States Patent No.
   8   8,856,221 (or, in the alternative, awarding Plaintiff running royalty from the time
   9   judgment going forward);
  10         (c)   Award Plaintiff damages resulting from Defendants infringement in
  11   accordance with 35 U.S.C. § 284;
  12         (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled
  13   under law or equity.
  14

  15   Dated: May 27, 2022                    Respectfully submitted,
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                                              /s/Stephen M. Lobbin
  17                                          Attorney(s) for Plaintiff
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